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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
Lauren N. Rivera                                                          :
                                                                         :    COMPLAINT
                                            Plaintiff,                   :    19-CV-10533
                                                                         :
                                   -against-                             :
                                                                         :
Michael B. Palillo, P.C., Michael B. Palillo, as                        :
an individual                                                            :
                                                                        :
                                            Defendants.                  :
------------------------------------------------------------------------X


              Plaintiff LAUREN N. RIVERA, (“plaintiff”), by counsel, RAYMOND NARDO,

P.C., upon personal knowledge, complaining of defendants, Michael B. Palillo, P.C. and

Michael B. Palillo, as an individual, jointly and severally (collectively referred herein as

“defendants”) allege:

                                          NATURE OF THE ACTION

         1.   This action seeks to recover unpaid minimum wages, overtime pay, and other

monies pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), and the

New York Labor Law § 190, et seq. (“NYLL”) on behalf of plaintiff.

         2.   Defendants deprived plaintiff of the protections of the FLSA and NYLL by failing to
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pay minimum wage and/or overtime pay and by failing to pay plaintiff for all hours worked.

                                        JURISDICTION

       3.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, and

jurisdiction over plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

       4.   This Court also has jurisdiction over plaintiff’s claims under the FLSA pursuant

to 29 U.S.C. § 216(b).

       5.   This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

                                            VENUE

       6.   Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. § 1391

because the defendants are located in the Eastern District of New York and the cause of

action arose there.

                                         THE PARTIES

Plaintiff

       7.   Defendants employed plaintiff as a Clerk from on or about November 15, 206

through August 16, 2019.

       8.   Plaintiff’s duties were to perform new case intake, draft subpoenas and HIPAA

releases, check court dockets, file documents, schedule depositions, prepare exhibits for

trial, and write up cases.

       9.   Plaintiff was not an exempt employee under the FLSA.

       10. Plaintiff was not an exempt employee under the NYLL.
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       11. Plaintiff was not paid a sufficient amount to be exempt under the NYLL.

       12. Starting on or about January 1, 2017, Defendants employed Plaintiff 5 days per

week for approximately 45 hours per week.

       13. Defendants paid plaintiff a flat salary of $600 per week when she started work

for defendants, which was later raised to $638.47 per week.

       14. Defendants did not pay plaintiff minimum wage or premium overtime pay at

the rate of time and one half of the regular hourly pay for hours worked in excess of 40

hours per week.

       15. Plaintiff was not permitted an uninterrupted half hour for required meal breaks.

       16. Plaintiff was an “employee” of defendants within the meaning of the FLSA and

the NYLL.

Defendants

       17. Defendant Michael B. Palillo, P.C. is a New York professional corporation with its

principal executive office located at 277 Broadway, Suite 501, New York, NY, in the Southern

District of New York.

       18. Defendant Michael B. Palillo, P.C. is an “enterprise engaged in interstate

commerce” within the meaning of the FLSA. Defendant has: (1) employees engaged in

commerce or in the production of goods for commerce and handling, selling, or otherwise

working on goods or materials that have been moved in or produced for commerce by any

person, including computers, pads, pens, and paper, and (2) an annual gross volume of

revenues in excess of $500,000.
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       19. Defendant Michael B. Palillo, P.C. . is a covered employer within the meaning of

the FLSA and the NYLL and, at all times relevant, employed plaintiff.

       20. At all relevant times, Michael B. Palillo, P.C. has maintained control, oversight,

and direction over plaintiff.

       21. Defendant Michael B. Palillo is an owner and/or officer of Michael B. Palillo,

P.C. He exercises sufficient control over both corporations’ operations to be considered

plaintiff’s employer under the FLSA and NYLL, including the authority to hire and fire,

assign work, supervise employees, maintain payroll records, and at all times material herein

established and exercised authority regarding the pay practices at both corporation.

       22. The business activities of the defendants are related and performed through

unified operation or common control for a common business purpose and constitute an

enterprise, or joint employer, within the meaning of the FLSA.

                 DEFENDANTS’ FAILURE TO PAY MINIMUM WAGES

       23. Defendants suffered or permitted plaintiff to work and did not compensate

plaintiff at the minimum wage required under New York State Law.

                   DEFENDANTS’ FAILURE TO PAY OVERTIME PAY

       24. Defendants suffered or permitted plaintiff to work over 40 hours per week.

During regular workweeks, Defendants did not compensate plaintiff for premium overtime

pay at time and one-half the full wage rate for the overtime hours worked.
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                           DEFENDANTS’ VIOLATIONS OF THE
                            WAGE THEFT PREVENTION ACT

       25. The NYLL and Wage Theft Prevention Act requires employers to provide all

employees with a written notice of wage rates within ten days of the time of hire and when

the wage rate is increased.

       26. Defendants failed to furnish plaintiff with wage notices as required by § 195(1) of

the Labor Law.

       27. The NYLL and Wage Theft Prevention Act requires employers to provide all

employees with an accurate statement accompanying every payment of wages, which lists

the name and phone number of the employer, regular rate of pay, overtime rate of pay,

regular hours worked, overtime hours worked, gross wages, net wages, and additional

information.

       28. Defendants also failed to furnish plaintiff with accurate statements of wages, as

required by § 195(3) of the Labor Law.

                                 FIRST CAUSE OF ACTION
                              (FLSA – Unpaid Minimum Wages)

       29. Plaintiff reallege, and incorporate by reference, all allegations in all preceding

paragraphs.

       30. At all times relevant, plaintiff was an “employee” within the meaning of

29 U.S.C. §§ 201 et seq.

       31. At all times relevant, defendants have been employers of plaintiff, engaged in

commerce and/or the production of goods for commerce, within the meaning of 29 U.S.C.
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§§ 201 et seq.

        32. Defendants have failed to pay plaintiff minimum wages to which she is entitled

under the FLSA.

        33. Defendants’ unlawful conduct, as described in this Complaint, has been willful

and intentional. Defendants were, or should have been, aware of the fact that the practices

described in this Complaint were unlawful.

        34. Defendants have not made a good faith effort to comply with the FLSA with

respect to the compensation of plaintiff.

        35. Because defendants’ violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. §§ 201 et seq.

        36. As a result of defendants’ willful violations of the FLSA, plaintiff has suffered

damages by being denied minimum wage in accordance with the FLSA in amounts to be

determined at trial, and is entitled to recovery of such amounts, liquidated damages,

prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C.

§§ 201 et seq.

                                SECOND CAUSE OF ACTION
                               (NYLL – Unpaid Minimum Wages)

        37. Plaintiff realleges, and incorporates by reference, all allegations in all preceding

paragraphs.

        38. Defendants have engaged in a widespread pattern, policy, and practice of

violating the NYLL, as detailed in this Complaint.
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       39. At all times relevant, plaintiff has been an employee of defendants, and

defendants have been employers of plaintiff within the meaning of the NYLL §§ 650 et seq.,

and the supporting New York State Department of Labor Regulations.

       40. Defendants have failed to pay plaintiff the minimum wages to which she is

entitled under the NYLL and the supporting New York State Department of Labor

Regulations.

       41. Through their knowing or intentional failure to pay minimum hourly wages to

plaintiff, defendants have willfully violated the NYLL, Article 19, §§ 650 et seq., and the

supporting New York State Department of Labor Regulations.

       42. Due to defendants’ willful violations of the NYLL, plaintiff is entitled to recover

from defendants unpaid minimum wages and liquidated damages as provided for by the

NYLL, reasonable attorneys’ fees, costs, and pre-judgment and post-judgment interest.

                                THIRD CAUSE OF ACTION
                                    (FLSA – Overtime)

       43. Plaintiff realleges, and incorporates by reference, all allegations in all preceding

paragraphs.

       44. Defendants have failed to pay plaintiff premium overtime wages to which she is

entitled under the FLSA at the rate of time and one-half for all hours worked in excess of 40

hours per week.

       45. Defendants’ unlawful conduct, as described in this Complaint, has been willful

and intentional. Defendants were aware, or should have been aware of, the fact that the
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practices described in this Complaint were unlawful.

        46. Defendants have not made a good faith effort to comply with the FLSA with

respect to the compensation of plaintiff.

        47. Because defendants’ violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. §§ 201 et seq.

        48. As a result of defendants’ willful violations of the FLSA, plaintiff has suffered

damages by being premium overtime wages in accordance with the FLSA in amounts to be

determined at trial, and are entitled to recovery of such amounts, liquidated damages,

prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to 29 U.S.C.

§§ 201 et seq.


                                FOURTH CAUSE OF ACTION
                                    (NYLL – Overtime)

        49. Plaintiff realleges, and incorporates by reference, all allegations in all preceding

paragraphs.

        50. Defendants have engaged in a widespread pattern, policy, and practice of

violating the NYLL, as detailed in this Complaint.

        51. Defendants have failed to pay plaintiff premium overtime wages to which whe

was entitled under the NYLL and the supporting New York State Department of Labor

Regulations at the rate of time and one half for all hours worked in excess of 40 hours per

week.

        52. Through their knowing or intentional failure to pay minimum hourly wages to
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plaintiff, defendants have willfully violated the NYLL, Article 19, §§ 650 et seq., and the

supporting New York State Department of Labor Regulations.

       53. Due to defendants’ willful violations of the NYLL, plaintiff is entitled to recover

from defendants unpaid overtime wages and liquidated damages as provided for by the

NYLL, reasonable attorneys’ fees, costs, and pre-judgment and post-judgment interest.


                               FIFTH CAUSE OF ACTION
                          (NYLL – Failure to Provide Wage Notices)

       54. Plaintiff realleges, and incorporates by reference, all allegations in all preceding

paragraphs.

       55. Defendants have willfully failed to supply plaintiff with a wage notices, as

required by NYLL, Article 6, § 195(1), in English, or in the language identified by plaintiff as

their primary language, containing plaintiff’s rate or rates of pay and basis thereof, whether

paid by the hour, shift, day, week, salary, piece, commission, or other; hourly rate or rates of

pay and overtime rate or rates of pay if applicable; the regular pay day designated by the

employer in accordance with NYLL, Article 6, § 191; the name of the employer; any “doing

business as” names used by the employer; the physical address of the employer's main

office or principal place of business, and a mailing address if different; the telephone

number of the employer; plus such other information as the commissioner has deemed

material and necessary.

       56. Through their knowing or intentional failure to provide plaintiff with the wage

notices required by the NYLL, defendants have willfully violated NYLL, Article 6, §§ 190 et
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seq., and the supporting New York State Department of Labor Regulations.

      57. Due to defendants’ violation of NYLL § 195(1), plaintiff is entitled to recover

from defendants liquidated damages $5,000, plus reasonable attorney’s fees, and costs and

disbursements of the action, pursuant to the NYLL § 198(1-d).

                              SIXTH CAUSE OF ACTION
                        (NYLL – Failure to Provide Wage Statements)

      58. Defendants have willfully failed to supply plaintiff with accurate statements of

wages as required by NYLL, Article 6, § 195(3), containing the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of

employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

salary, piece, commission, or other; gross wages; hourly rate or rates of pay and overtime

rate or rates of pay if applicable; the number of hours worked, including overtime hours

worked if applicable; deductions; and net wages.

      59. Through their knowing or intentional failure to provide plaintiff with the

accurate wage statements required by the NYLL, defendants have willfully violated NYLL,

Article 6, §§ 190 et seq., and the supporting New York State Department of Labor

Regulations.

      60. Due to defendants’ violation of NYLL § 195(3), plaintiff is entitled to recover

from the defendants liquidated damages of $5,000, plus reasonable attorney’s fees, and

costs and disbursements of the action, pursuant to the NYLL § 198(1-d).
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                                DEMAND FOR JURY TRIAL

       61. Plaintiff demands trial by jury.

                                    PRAYER FOR RELIEF

    WHEREFORE, plaintiff respectfully requests that this Court enter a judgment:

       a.   Declaring that defendants have violated the minimum wage, overtime pay of

the FLSA, and supporting United States Department of Labor Regulations;

       b. declaring that defendants have violated the minimum wage, overtime pay

provisions of the NYLL, and supporting regulations;

       c.   declaring that defendants have violated the Wage Theft Prevent Act;

       d. declaring that defendants’ violations of the FLSA were willful;

       e.   declaring that defendants’ violations of the NYLL were willful;

       f.   awarding plaintiff damages for all unpaid wages;

       g. awarding plaintiff liquidated damages in an amount equal to the total amount of

the wages found to be due, pursuant to the FLSA and the NYLL;

       h. awarding damages of $5,000, plus reasonable attorney’s fees, and costs and

disbursements of the action, as provided for by NYLL, Article 6 § 198;

       i.   awarding plaintiff liquidated damages of $5,000, plus reasonable attorney’s fees,

and costs and disbursements of the action, as provided for by NYLL, Article 6 § 198;

       j.   issuing a declaratory judgment that the practices complained of in this Complaint

are unlawful under the NYLL, Article 6, §§ 190 et seq., NYLL, Article 19, §§ 650 et seq., and the

supporting New York State Department of Labor Regulations;
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         k. awarding plaintiff pre-judgment and post-judgment interest under the FLSA and

the NYLL;

         l.   granting an injunction requiring defendants to pay all statutorily required wages

and cease the unlawful activity described herein pursuant to the NYLL;

         m. awarding plaintiff reasonable attorneys fees’ and costs pursuant the FLSA and

the NYLL;

         n. awarding such other and further relief as the Court deems just and proper.

Dated:        Mineola, NY
              November 13, 2019


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